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15                             UNITED STATES DISTRICT COURT
16                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
17                                  SOUTHERN DIVISION
18
      UNITED STATES OF AMERICA,              NO. 8:19-CR-00061-JVS (KESx)
19                Plaintiff,                 JOINT APPLICATION FOR 60-
20                       v.                  DAY EXTENSION TO SUBMIT A
21    MICHAEL AVENATTI,                      PROPOSED ORDER
                                             ESTABLISHING PROCEDURES
22            Defendant.
                                             GOVERNING THE SALE OF ONE
23                                           HONDA JET.
24
      ALEXIS GARDNER; JASON FRANK
25    LAW, PLC; SPRING CREEK
26    RESEARCH, LLC; AND RICHARD
      A. MARSHACK, CHAPTER 7
27    TRUSTEE FOR EAGAN AVENATTI,
28    LLP,
                Petitioners.
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 1          The Plaintiff United States of America (the “government”) and petitioners submit
 2    the following Joint Application for 60-day Extension to Submit a Proposed Order
 3    Establishing Procedures Governing the Sale of One Honda Aircraft.
 4          On July 25, 2023, the Court ordered that the parties meet and confer and submit a
 5    proposed order for procedures governing the sale within seven days. ECF 1125. The
 6    Court further ordered that if the parties have alternative views, they shall be reflected in
 7    a single proposed order. Following the Court’s order, the petitioners exchanged email
 8    messages discussing each party’s views:
 9              • Spring Creek Research, LLC, represented by Lawrence J. Conlan;
10              • Alexis Gardner, represented by Filippo Marchino;
11              • Richard A. Marshack as Chapter 7 trustee for Eagan Avenatti, represented
12                 by John P. Reitman;
13              • Jason Frank Law LLC, represented by Andrew D. Stolper (collectively the
14                 “petitioners”); and
15              • The United States, represented by AUSA James E. Dochterman.
16          Concerns Raised by the Private Parties
17          The petitioners’ main concern is that the sale be held in a manner that would
18    achieve the highest and best price for the Honda Jet. For this reason, several petitioners
19    suggested use of a private broker who specializes in the sale of aircraft to locate a buyer
20    and Mr. Stolper proffered language that would provide for a private sale. These same
21    petitioners were opposed to the sale of the aircraft at a government auction. However,
22    Mr. Dochterman cautioned that he needed to hear from the government custodian of the
23    Honda Aircraft, the Internal Revenue Service (“IRS”), to determine whether a privately
24    brokered sale were even possible.
25          The Government’s Position
26          The IRS point of contact for this asset is Special Agent Bryan Starek, Asset
27    Forfeiture Coordinator for IRS – Criminal Investigation. Special Agent Starek, who was
28    unavailable until August 1, 2023, conferred with the Treasury Executive Office for Asset



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 1    Forfeiture (“TEOAF”), the agency within the United States Department of the Treasury
 2    that administers the Treasury Forfeiture Fund (“TFF”), which is the receipt account for
 3    deposit of non-tax forfeitures made pursuant to laws enforced or administered by
 4    Treasury and Department of Homeland Security agencies. Special Agent Starek
 5    reported to AUSA Dochterman that a TEOAF representative stated that the Treasury
 6    Department was contractually prohibited from having an outside brokerage sell the
 7    aircraft, and that the Treasury Department’s standard procedure is to sell seized assets
 8    through a government auction.
 9          Request for Additional Time
10          At this juncture, the government and petitioners request additional time to allow
11    the government to confer with the IRS and TEOAF to determine procedures for a sale of
12    the aircraft. Specifically, the government wishes to have TEOAF and IRS clarify the
13    specific contractual and regulatory obligations which prohibit sales by a broker, and to
14    explore whether an exception might be considered to satisfy the court and parties’
15    mutual interests. The parties propose a sixty-day (60) period during which the parties
16    can take the following steps:
17             • The government will arrange with IRS for petitioners to inspect the aircraft
18                 and review the maintenance records;
19             • The government will obtain from IRS, and provide to petitioners, further
20                 information on storage costs and the payment process (the amounts of
21                 which have been requested but not yet made available to the government);
22                 and
23             • The government will engage with IRS and TEOAF representatives to
24                 determine how to accommodate the court and petitioners’ goals in
25                 consideration of the Treasury Department’s newly raised contractual
26                 obligations, and present a conclusive determination of permissible sales
27                 procedures.
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 1          The government and petitioners believe that an extension will afford the parties
 2    sufficient time to conclusively determine the property disposition and the government to
 3    engage in more meaningful discussions about how to achieve their mutual goals of
 4    realizing the highest and best price for the Honda Jet within the constraints presented by
 5    IRS and TEOAF requirements.
 6    DATED: August 1, 2023                  E. MARTIN ESTRADA
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